       Case 07-19052             Doc 19    Filed 01/28/08 Entered 01/30/08 23:57:23    Desc Imaged
                                          Certificate of Service Page 1 of 3
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                             Northern District of Illinois
                                                  Case No. 07−19052
                                                      Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Iliana A. Regan
   5110 N. Ashland, #2
   Chicago, IL 60640
Social Security No.:
   xxx−xx−2840
Employer's Tax I.D. No.:



                                            DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           FOR THE COURT


Dated: January 28, 2008                                    Kenneth S. Gardner, Clerk
                                                           United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                         Certificate of Service Page 2 of 3
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
            Case 07-19052           Doc 19      Filed 01/28/08 Entered 01/30/08 23:57:23                         Desc Imaged
                                               Certificate of Service Page 3 of 3
 Bankruptcy Noticing Center
 2525 Network Place, 3rd Floor
                                 CERTIFICATE OF SERVICE
 Herndon, Virginia 20171-3514

 District/off: 0752-1                 User: kseldon                       Page 1 of 1                         Date Rcvd: Jan 28, 2008
 Case: 07-19052                       Form ID: b18                        Total Served: 20

 The following entities were served by first class mail on Jan 30, 2008.
 db           +Iliana A. Regan,    5110 N. Ashland, #2,   Chicago, IL 60640-7633
 aty          +Kelly Smith,    Law Offices of Stuart B. Handelman, P.C.,    332 S. Michigan Avenue,   Suite 1000,
                Chicago, IL 60604-4398
 aty          +Stuart B Handelman,    Law Offices Of Stuart B Handelman P C,     332 S Michigan Ave Ste 1020,
                Chicago, IL 60604-4323
 tr           +Allan J DeMars,    Spiegel & Demars,   100 W Monroe St Ste 910,    Chicago, IL 60603-1957
 11680336     +American General Finance,    200 W. Adams, Suite 2002,    Chicago, IL 60606-5230
 11680340     +Citi Cards,   7920 NW 110th Street,    Kansas City, MO 64153-1270
 11680341      Direct Merchants Bank,    P.O. Box 21550,   Tulsa, OK 74121-1550
 11680346      Sallie Mae Servicing Corp.,    P.O. Box 9500,    Wilkes-Barre, PA 18773-9500
 11680347      Student Loan Servicing,    P.O. Box 94553,    Cleveland, OH 44101-4553
 11680348     +Sudler,   8401 Innovation Way,    Chicago, IL 60682-0084
 11680349     +U.S. Atty for Northern Dist IL,    For Sallie Mae),    219 S. Dearborn Street, 5th Fl,
                Chicago, IL 60604-2029
 11680350      Washington Mutual Home Loans,    P.O. Box 9001123,    Louisville, KY 40290-1123
 11680351      Xpress Loan Servicing,    P.O. Box 88037,   Chicago, IL 60680-1037
 The following entities were served by electronic transmission on Jan 29, 2008.
 11680335      EDI: RMSC.COM Jan 29 2008 00:06:00      American Eagle Outfitters,    P.O. Box 530942,
                Atlanta, GA 30353-0942
 11680337      EDI: TSYS2.COM Jan 29 2008 00:07:00      Bloomingdale’s,   P.O. Box 4590,
                Carol Stream, IL 60197-4590
 11680338      EDI: CAPITALONE.COM Jan 29 2008 00:06:00      Capital One Bank,    P.O. Box 60024,
                City Of Industry, CA 91716-0024
 11680339      EDI: CHRYSLER.COM Jan 29 2008 00:06:00      Chrysler Financial,    PO Box 2993,
                Milwaukee, WI 53201-2993
 11680342      EDI: DISCOVER.COM Jan 29 2008 00:06:00      Discover Card,   P.O. Box 30395,
                Salt Lake City, UT 84130-0395
 11680343      EDI: HFC.COM Jan 29 2008 00:06:00      HSBC Guitar Center,   P.O. Box 703,
                Wood Dale, IL 60191-0703
 11680344      EDI: HFC.COM Jan 29 2008 00:06:00      HSBC Mortgage Services,   636 Grand Regency,
                Brandon, FL 33510-3942
                                                                                               TOTAL: 7
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 11680345         Landlord
                                                                                                                    TOTALS: 1, * 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 30, 2008                                      Signature:
